               /(#.-..-#-.,#.)/,.(),.",(
                        #-.,#.) !),!#
                         .&(.#0#-#)(
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& &#(1)) $, @E;@M@;L8CCP              
                                        
      *C8@EK@==                         
M                                        #0#&.#)( #&() 
                                                   
,, (-*,!, @E?@JF==@:@8C 
:8G8:@KP8J-<:I<K8IPF=-K8K<F=K?<-K8K< 
F=!<FI>@8,( -/&&#0(  
@E?<IF==@:@8C:8G8:@KP8J0@:<?8@IF=   
K?<!<FI>@8-K8K<C<:K@FEF8I;          
0#$ 1),&3 @E?@JF==@:@8C           
:8G8:@KP8J8'<D9<IF=K?<!<FI>@8        
-K8K<C<:K@FEF8I;'.."1              
'-"/,( @E?@JF==@:@8C:8G8:@KP8J 
8'<D9<IF=K?<!<FI>@8-K8K<C<:K@FE      
F8I;8E;("& @E?<IF==@:@8C         
:8G8:@KP8J8'<D9<IF=K?<!<FI>@8        
-K8K<C<:K@FEF8I;                      
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 =# !
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
      .?< *C8@EK@==  GLIJL8EK KF K?< <;<I8C ,LC<J F= @M@C *IF:<;LI<  @E:CL;@E>

,LC<   8E; &F:8C ,LC<J            8E;    DFM<J K?@J FLIK =FI

@EALE:K@M<I<C@<= 8J=FCCFNJ




                                        
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                                    7$7(0(172)$&76

            .?<=8:KJI<C<M8EKKFK?@JDFK@FE8I<J<K=FIK?@E;<K8@C@EK?<*C8@EK@==WJ

0<I@=@<; FDGC8@EK =FI <:C8I8KFIP 8E; #EALE:K@M< ,<C@<=  N?@:? @J ?<I<9P

@E:FIGFI8K<;9PI<=<I<E:<8E;N@CCEFK9<I<G<8K<;M<I98K@D 

            ;;@K@FE8CCP K?<*C8@EK@==F==<IJK?<=FCCFN@E>=8:KJ:FEK8@E<;@EK?<

8KK8:?<; 8==@;8M@KJ  ;<:C8I8K@FEJ  8E; FI ;F:LD<EK8IP <M@;<E:< @E JLGGFIK F= K?@J

8GGC@:8K@FE=FI@EALE:K@M<I<C@<=

              • OG<IK N@KE<JJ I<GFIK 8E; ;<:C8I8K@FE 8KK<JK@E> KF K?< =8:K K?8K
                  EFE I<J@;<EKJMFK<;@CC<>8CCP 1@CC@8D ' I@>>J *?  8
                 JK8K@JK@:@8E <JK@D8K<;98J<;FEJLIM<P;8K8I@>FIFLJCP:FCC<:K<;9P
                 '8KK I8PE8I; 8E; K?< 0FK@E> #EK<>I@KP *IFA<:K  K?8K  
                 89J<EK<<FI/+<6CMFK<IJMFK<;@E!<FI>@8;<JG@K<?8M@E>DFM<;FLK
                 F= JK8K< T JL==@:@<EK @E @KJ<C= KF GLK K?< FLK:FD< F= K?< 
                 *I<J@;<EK@8CC<:K@FE@E;FL9K8E;;<DFEJKI8K<K?<@DD@E<EK?8ID
                 K?8KN@CC<EJL<@=K?<J<GIF:<;LI<J8I<G<ID@KK<;KF9<LK@C@Q<;@EK?<
                 ILEF==<C<:K@FE -<<I@>>J<:C8I8K@FE8E;,<GFIK8KK8:?<;?<I<KF
                 8JO?@9@KUV 
                 
              •  D8JJ@M< ELD9<I F= LEI<HL<JK<; 89J<EK<< 98CCFKJ N<I< J<EK @E
                 M@FC8K@FEF=K?<C<>@JC8K@M<J:?<D< <JK@D8K<;KF8:FE=@;<E:<
                 @EK<IM8C KF 9< 9<KN<<E   8E;   98CCFKJ T JL==@:@<EK @E
                 @KJ<C=KFGLKK?<FLK:FD<F=K?<*I<J@;<EK@8CC<:K@FE@E;FL9K
                 8E; ;<DFEJKI8K< K?< @DD@E<EK ?8ID K?8K N@CC <EJL< @= K?<J<
                 GIF:<;LI<J8I<G<ID@KK<;KF9<LK@C@Q<;@EK?<ILEF==<C<:K@FE -<<
                 O?@9@K8E;OG<IK,<GFIKF='8KK?<NI8PE8I;8KK8:?<;?<I<KF
                 8JO?@9@KUV 
       
              • D8JJ@M<ELD9<IF=89J<EK<<98CCFKJN<I<I<KLIE<;9PK?<MFK<IJ
                 9LK E<M<I :FLEK<;  <JK@D8K<; KF 8  :FE=@;<E:< @EK<IM8C KF 9<
                 9<KN<<E KF  -<<O?@9@KJUV8E;UV 

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
    
        •  ;<:C8I8K@FE =IFD I  +L@EE<CC 8E; -  -K8EC<P 3FLE>  *?   8
           D<D9<I F= K?< D<I@:8E JJF:@8K@FE =FI K?< ;M8E:<D<EK F=
           -:@<E:<@EK?<8I<8F=JK8K@JK@:J 8E8CPQ<; LCKFEFLEKP89J<EK<<
           98CCFKJ8E;=FLE;>C8I@E>JK8K@JK@:8C8EFD8C@<JK?8K8I<JF<OKI<D<
           8JKF9<D8K?<D8K@:8CCP@DGFJJ@9C<KF:F <O@JK@EK?<89J<EK<<98CCFK
           ;8K8  -<< +L@EE<CC  3FLE> <:C8I8K@FEJ 8KK8:?<; ?<I<KF 8J
           O?@9@KUV 
    
        • E 8E8CPJ@J 9P ,LJJ<CC ,8DJC8E; F= 89J<EK<< 98CCFK JK8K@JK@:J
           J?FN<;K?8K 89J<EK<<98CCFKJ?8;@DGFJJ@9CPJ?FIK@EK<IM8CJ
           9<KN<<E K?< ;8K<J K?<P N<I< D8@C<; FLK 8E; K?< ;8K<J K?<P N<I<
           I<KLIE<; 8E;K?8K8KC<8JK 89J<EK<<98CCFKJN<I<MFK<;9LK
           8I< EFK I<=C<:K<; 8J ?8M@E> 9<<E I<KLIE<;  -<< ,8DJC8E;WJ
           <:C8I8K@FE8KK8:?<;?<I<KF8JO?@9@KUV 
    
        • .?< -G@;<I ==@;8M@K ;<K8@CJ :P9<I J<:LI@KP K<JK@E> 8E; 8E8CPJ@J 
           G<E<KI8K@FE K<JK@E>  8E; E<KNFIB :FEE<:K@FE KI8:@E> 8E; 8E8CPJ@J
           N@K? I<JG<:K KF FD@E@FE 0FK@E> -PJK<DJ J<IM<IJ 8E; E<KNFIBJ 
           .?<==@8EK@J=FID<ICPF=K?<K?'@C@K8IP#EK<CC@><E:<8KK8C@FE
           N@K? JL9JK8EK@8C <OG<IK@J< 8E; <OG<I@<E:< @E :P9<I J<:LI@KP  #E
           K<JK@E> :FE;L:K<; (FM<D9<I     ?< =FLE; J?F:B@E>
           MLCE<I89@C@K@<J @E K?< FD@E@FE E<KNFIBJ  N@K? LE<E:IPGK<;
           G8JJNFI;J  E<KNFIB :FEE<:K@FEJ KF #* 8;;I<JJ<J @E <C>I8;< 
           -<I9@8 8E;I<C@89C<I<:FI;JF=FD@E@FEE<KNFIBJ9<@E>8::<JJ<;
           =IFD?@E8 F:   SS  .?<-G@;<I8==@;8M@K8CJF=@E;JK?8K
           ;@JFE,<J<8I:? 8E<C<:K@FEI<GFIK@E>8==@C@8K<F=FD@E@FE ?8J8
           ;@I<:KCP:FEE<:K<;#I8E@8EJ<IM<I N?@:?@J@EKLIEK@<;KF8J<IM<I@E
           K?< (<K?<IC8E;J N?@:? :FII<C8K<J KF BEFNE #I8E@8E LJ< F= K?<
           (<K?<IC8E;J8J8I<DFK<J<IM<I . 8KSS  .?<-G@;<I8==@;8M@K
           @;<EK@=@<J 8 J<I@<J F= FK?<I #I8E@8E 8E; ?@E<J< :FEE<:K@FEJ @EKF
           FD@E@FEWJE<KNFIBJ8E;JPJK<DJ .?<8==@;8M@K:FE:CL;<J@ES
           
                  #E DP GIF=<JJ@FE8C FG@E@FE  K?@J 8==@;8M@K GI<J<EKJ
                  LE8D9@>LFLJ <M@;<E:< K?8K FD@E@FE 0FK<I
                  -PJK<DJ8E;;@JFE,<J<8I:??8M<9<<E8::<JJ@9C<
                  8E; N<I< :<IK8@ECP :FDGIFD@J<; 9P IF>L< 8:KFIJ 

                                 

               JL:? 8J #I8E 8E; ?@E8  P LJ@E> J<IM<IJ 8E;
               <DGCFP<<J:FEE<:K<;N@K?IF>L<8:KFIJ8E;?FJK@C<
               =FI<@>E@E=CL<E:<J:FD9@E<;N@K?ELD<IFLJ<8J@CP
               ;@J:FM<I89C<C<8B<;:I<;<EK@8CJ K?<J<FI>8E@Q8K@FEJ
               E<>C<:K=LCCP 8CCFN<; =FI<@>E 8;M<IJ8I@<J KF 8::<JJ
               ;8K8 8E; @EK<EK@FE8CCP GIFM@;<; 8::<JJ KF K?<@I
               @E=I8JKIL:KLI< @E FI;<I KF DFE@KFI 8E; D8E@GLC8K<
               <C<:K@FEJ  @E:CL;@E> K?< DFJK I<:<EK FE< @E  
               .?@J I<GI<J<EKJ 8 :FDGC<K< =8@CLI< F= K?<@I ;LKP KF
               GIFM@;<98J@::P9<IJ<:LI@KP -<<-G@;<I==@;8M@K
               8KK8:?<;?<I<KF8JO?@9@KUV 
               
    • .?< <:C8I8K@FE F= ,LJJ<CC ,8DJC8E; -<< O?@9@K UV  =@E;J
       J@D@C8I J?F:B@E> MLCE<I89@C@K@<J @E K?< FD@E@FE E<KNFIBJ 8E;
       JPJK<DJ  8E; :FE=@IDJ K?< =@E;@E>J F= K?< -G@;<I 8==@;8M@K  "<
       =LIK?<IJ?FNJK?8KD8CN8I<FE-.3&WJJ<IM<IJ:8E:8GKLI<CF>@E
       :I<;<EK@8CJLJ<;@EK?<FD@E@FEE<KNFIBJ . 8KSS  ,8DJC8E;
       =@E;JK?8KFD@E@FEWJJFLI:<:F;<@J8M8@C89C<FEK?<8IB1<9 
       8E;K?8KFD@E@FEJ<C<:K@FEJPJK<DJLJ<LEGIFK<:K<;CF>J D8B@E>
       LE;<K<:K89C<?8:B@E>9PJFG?@JK@:8K<;?8:B<IJGFJJ@9C< . 8K  
       .?@J C8KK<I GF@EK :FE=@IDJ $L;>< .FK<E9<I>WJ =@E;@E>J 89FLK K?<
       MLCE<I89@C@K@<J@EK?<FD@E@FEJPJK<D@E?<6381@ #+00/8=:/<1/< 
       1&(  !8    
       
       #E =LIK?<I 8E8CPJ@J  ,8DJC8E; =@E;J K?IFL>? JFG?@JK@:8K<;
       D8K?<D8K@:8CK<:?E@HL<JK?8KK?<I<N8J8;@JK@E:KGFC@K@:8C9@8J@E
       =8MFIF=$F<@;<E8E;8>8@EJKFE8C;.ILDG@EK?<I<JLCKJI<GFIK<;
       =IFDFD@E@FED8:?@E<JMJ K?FJ<I<GFIK<;FEFK?<IJPJK<DJ . 
       8K SS    @;<E 8M<I8><;  ?@>?<I FE FD@E@FE 8E; "8IK
       JPJK<DJK?8EFEFK?<IJPJK<DJ . &FFB@E>8K:FLEK@<JN?<I<@;<E
       FM<IG<I=FID<; ,8DJC8E;WJ GI<;@:K@M< DF;<C  N?<I< FK?<I
       D8:?@E<J N<I< LJ<; @;<E FM<IG<I=FID<; FECP  F= K?< K@D< 
       @E;@:8K@E> D8:?@E< E<LKI8C@KP  "FN<M<I  @E K?< FD@E@FE "8IK
       JPJK<D:FLEK@<J @;<EFM<IG<I=FID<;K?<DF;<CF=K?<K@D< 
       8E8EFD8CFLJFILEE8KLI8CI<JLCKKFK?< :FE=@;<E:<C<M<C 
       . 8K  .?@J8E8CPJ@JN8J:FE=@ID<;9P:?<:B@E>@K9P8EFK?<I
       D8:?@E<C<8IE@E>D<K?F; . 8KS -<<8CJFSU+,6,1',&$7(6

                            

        7+( )5$8' :$6 :,'(635($' 8E; @DG8:K<; MFK< :FLEKJ @E 8
        JPJK<D8K@: D<K?F; $&5266 0$1; 0$&+,1(6 $1' &2817,(6 V
        DG?8J@J@EFI@>@E8C .?@J;<DFEJKI8K<JK?<@DD@E<EK?8IDK?8K
        N@CC <EJL< @= K?<J< GIF:<;LI<J 8I< G<ID@KK<; KF 9< LK@C@Q<; @E K?<
        ILEF==<C<:K@FE 
    
        #EK?<89FM< D<EK@FE<;8==@;8M@K ,8DJC8E;8;;JK?<=FCCFN@E>
        
        8J<; FE K?< =FI<>F@E>  N< 9<C@<M< K?@J GI<J<EKJ
        LE8D9@>LFLJ <M@;<E:< K?8K LJ@E> DLCK@GC< JK8K@JK@:8C
        KFFCJ 8E; K<:?E@HL<J KF <O8D@E< @= K?< LJ< F= MFK@E>
        D8:?@E<J D8EL=8:KLI<; 9P ;@==<I<EK :FDG8E@<J
        8==<:K<;/ - <C<:K@FEI<JLCKJ N<=FLE;K?<LJ<F=
        K?< FD@E@FE 2 # ' 8CCFK '8IB@E> <M@:<
        D8:?@E< D8EL=8:KLI<;9PFD@E@FE0FK@E>-PJK<DJ 
        8E; D8:?@E<J =IFD "8IK #EK<I@M@:  8GG<8I KF ?8M<
        89EFID8CCP @E=CL<E:<; <C<:K@FE I<JLCKJ 8E;
        )5$8'8/(17/; $1' (5521(286/; $775,%87(' )520
           72     927(6 72 ,'(1 ,1 (25*,$ 
        DG?8J@J@EFI@>@E8C 
        . 8K  
        
        .?< 89J<EK<< 98CCFK J@>E8KLI< I<A<:K@FE I8K< 8EEFLE:<; 9P K?<
        -<:I<K8IPF=-K8K<N8J  )ECP89J<EK<<98CCFK+::63-+>398=
        N<I<I<A<:K<;JK8K<N@;<=FIJ@>E8KLI<D@JD8K:? N@K?E@E<@EK@EP
        "8E:F:BFLEKP GFGLC8K@FE  <@>?K@E LCKFEFLEKP8E;D/<9
        @E8EPFK?<ID<KIFGFC@K8E:FLEKP /E;<IK?<=8LCKP:FEJ<EK;<:I<< 
        J@>E8KLI<J:FLC;9<D8K:?<;@=K?<I<N8J8EPD8K:?@E>;FE<8K8CC
        N@K? K?< 8GGC@:8K@FEJ 8CFE< T 8CCFN@E> LE=<KK<I<; @EA<:K@FE F=
        9FFKJKI8GG<;J@>E8KLI<J@EKFK?<M8C@;89J<EK<<98CCFKGFFC *C8@EK@==
        8CC<><J K?8K K?<J< =8:KJ I<GI<J<EK K?< ;< =8:KF 89FC@K@FE F= K?<
        JK8KLKFIPJ@>E8KLI<D8K:?I<HL@I<D<EKF=)  !  R  @E
        M@FC8K@FEF=JK8K<JK8KLK< K?<C<:K@FEJ8E;C<:KFIJC8LJ< 8E;K?<
        HL8C*IFK<:K@FE8E;L<*IF:<JJC8LJ<J .?@J;<DFEJKI8K<JK?<
        @DD@E<EK?8IDK?8KN@CC<EJL<@=K?<J<GIF:<;LI<J8I<G<ID@KK<;KF
        9<LK@C@Q<;@EK?<ILEF==<C<:K@FE 
        

                               

        • E 8E8CPJ@J 9P <OG<IK <EA8D@E )M<I?FCK :8C:LC8K<J K?8K K?<
           J@>E8KLI<I<A<:K@FEI8K<@E!<FI>@8=FI89J<EK<<98CCFKJ@EK?<
           <C<:K@FE N8J   8E; K?8K K?< -<:I<K8IP F= -K8K< ?8J LJ<;
           @E:FEJ@JK<EKD<K?F;FCF>@<J@E:8C:LC8K@E>K?< 8E;
           I<A<:K@FE I8K<J KF D8B< K?<  I<A<:K@FE I8K< J<<D 9<KK<I 9P
           :FDG8I@JFE  )M<I?FCK 8==@IDJ K?8K K?< -<:I<K8IP F= -K8K<WJ GI<JJ
           I<C<8J< @J UD@JC<8;@E>V 8E; LJ<J @E:FEJ@JK<EK D<K?F;FCF>@<J 8E;
           =8LCKP :FDG8I@JFEJ  -<< )M<I?FCK ==@;8M@K 8KK8:?<; ?<I<KF 8J
           O?@9@KU V .?@J;<DFEJKI8K<JK?<@DD@E<EK?8IDK?8KN@CC<EJL<
           @= K?<J< GIF:<;LI<J 8I< G<ID@KK<; KF 9< LK@C@Q<; @E K?< ILEF==
           <C<:K@FE 
    
        • .?< FD@E@FE MFK@E> JPJK<D 98CCFKJ D8IB<; 9P 8CCFK '8IB@E>
           <M@:<J 8I< EFK MFK<I M<I@=@89C< FI 8L;@K89C< @E 8 JF=KN8I< 
           @E;<G<E;<EKN8P .?@J@JJL<?8J9<<EC@K@>8K<;8E;;<:@;<;8>8@EJK
           K?< -K8K< <=<E;8EKJ @E ?<6381 @   #+00/8=:/<1/<   1&
            (   !8      >@M@E> I@J< KF @JJL< GI<:CLJ@FE
           8>8@EJKK?<<=<E;8EKJFEK?@JGF@EK 
    
        • .?< <C<:KIFE@: J<:LI@KP F= K?< FD@E@FE JPJK<D @J JF C8O 8J KF
           GI<J<EK8U<OKI<D<J<:LI@KPI@JBVF=LE;<K<:K89C<?8:B@E>8E;;F<J
           EFK @E:CL;< GIFG<ICP 8L;@K89C< JPJK<D CF>J  -<< "LIJK@
           <:C8I8K@FEJ SS       F:     8K G    S  8KK8:?<;
           ?<I<KF 8J O?@9@K U!V  $L;>< .FK<E9<I>WJ ;<:@J@FE @E ?<6381 @ 
           #+00/8=:/<1/< 1&(  !8   8CJF>@M<J
           I@J<KF@JJL<GI<:CLJ@FEFEK?@JGF@EK 
    
        • .?<GIF:<JJF=LGCF8;@E>;8K8=IFDD<DFIP:8I;JKFK?<FD@E@FE
           J<IM<IJ@J=I8L>?KN@K?J<I@FLJ9L>J =I<HL<EKCP=8@CJ8E;@J8J<I@FLJ
           J<:LI@KPI@JB -<<O?@9@KU!V8KSS  
    
           .?<I<?8J9<<EEF@EM<EKFIP:FEKIFCFM<I/-JK@:BJ N?@:?N<I<
           I<>LC8ICP K8B<E 98:B 8E; =FIK? =IFD K?< FD@E@FE J<IM<I KF K?<
            LCKFEFLEKPD8E8><IJWF==@:<J 8EFK?<I<OKI<D<J<:LI@KPI@JB . 
           8KS
    


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
           U.?< J<:LI@KP I@JBJ FLKC@E<; 89FM< T FG<I8K@E> JPJK<D I@JBJ  K?<
           =8@CLI<KF?8I;<EK?<:FDGLK<IJ G<I=FID@E>FG<I8K@FEJ;@I<:KCPFE
           K?< FG<I8K@E> JPJK<DJ  C8O :FEKIFC F= D<DFIP :8I;J  C8:B F=
           GIF:<;LI<J 8E;GFK<EK@8CI<DFK<8::<JJ 8I<<OKI<D<8E;;<JKIFP
           K?<:I<;@9@C@KPF=K?<K89LC8K@FEJ8E;FLKGLKF=K?<I<GFIKJ:FD@E>
           =IFD8MFK@E>JPJK<D V. 8KS 
    
        • =FI<EJ@:I<GFIK:FE;L:K<;9P,LJJ<CC$8D<J,8DJC8E;$I ;8K<;
           <:<D9<I 9PCC@<;-<:LI@KP)G<I8K@FEJ!IFLG8L;@K<;
           8E; K<JK<; K?< @EK<>I@KP F= K?< FD@E@FE 0FK@E> -PJK<D
           G<I=FID8E:<@EEKI@DFLEKP '@:?@>8E8E;:FE:CL;<;K?8K
           
              UK?< FD@E@FE 0FK@E> -PJK<D @J @EK<EK@FE8CCP 8E;
              GLIGFJ<=LCCP;<J@>E<;N@K?@E?<I<EK<IIFIJKF:I<8K<;
              JPJK<D@: =I8L; 8E; @E=CL<E:< <C<:K@FE I<JLCKJ  .?<
              JPJK<D @EK<EK@FE8CCP ><E<I8K<J 8E <EFIDFLJCP ?@>?
              ELD9<IF=98CCFK<IIFIJ .?<<C<:KIFE@:98CCFKJ8I<K?<E
              KI8EJ=<II<; =FI 8;AL;@:8K@FE  .?< @EK<EK@FE8C <IIFIJ
              C<8;KF9LCB8;AL;@:8K@FEF=98CCFKJN@K?EFFM<IJ@>?K 
              EFKI8EJG8I<E:P 8E;EF8L;@KKI@8C .?@JC<8;JKFMFK<I
              FI<C<:K@FE=I8L; 8J<;FEFLIJKL;P N<:FE:CL;<K?8K
              K?<FD@E@FE0FK@E>-PJK<DJ?FLC;EFK9<LJ<;45 V

           .?< I<GFIK =LIK?<I JK8K<; UN< :FE:CL;< K?8K K?< <IIFIJ 8I< JF
           J@>E@=@:8EKK?8KK?<P:8CC@EKFHL<JK@FEK?<@EK<>I@KP8E;C<>@K@D8:P
           F=K?<I<JLCKJ@EK?<EKI@DFLEKP<C<:K@FEKFK?<GF@EKK?8K
           K?< I<JLCKJ 8I< EFK :<IK@=@89C<  <:8LJ< K?< J8D< D8:?@E<J 8E;
           JF=KN8I<8I<LJ<;@EFK?<I:FLEK@<J@E'@:?@>8E 7+,6&$676'28%7
           217+(,17(*5,7;2)7+((17,5((/(&7,21@EK?<JK8K<F='@:?@>8E V
           DG?8J@J8;;<; .?<J<J8D<MFK@E>D8:?@E<J8E;JF=KN8I<8I<8E;
           N@CC 9< @DGC<D<EK<; =FI LJ< @E K?< !<FI>@8 / -  -<E8K< ILEF==
           <C<:K@FE  89J<EK K?@J FLIKWJ @EK<IM<EK@FE  -<< CC@<; -<:LI@KP
           )G<I8K@FEJ!IFLG,<GFIK8KK8:?<;?<I<KF8JO?@9@KU"V 
           
        • *IF=<JJFI GG<C  *IF=<JJFI <'@CCF  *IF=<JJFI -K8IBWJ 8IK@:C<
           GF@EK@E>KFK?<J<M<I8C=8K8C@K@<JF=K?<@EK<>I@KPF=K?<'JMFK@E>
           JPJK<D -G<:@=@:8CCP U98CCFKD8B@E>;<M@:<JGIF;L:<98CCFKJK?8K;F

                                

           EFKE<:<JJ8I@CPI<:FI;K?<MFK<<OGI<JJ<;9PK?<MFK<IN?<EK?<P
           <EK<I  K?<@I J<C<:K@FEJ FE K?< KFL:?J:I<<E ?8:B@E>  9L>J  8E;
           :FE=@>LI8K@FE<IIFIJ:8E:8LJ<K?<'JJPJK<DJKFGI@EKFLKMFK<J
           K?8K;@==<I=IFDN?8KK?<MFK<I<EK<I<;8E;M<I@=@<;<C<:KIFE@:8CCP V
           E;I<N1 GG<C ,@:?8I; <'@CCF *?@CC@G -K8IB E+669>
           +<5381 /@3-/= = +889> ==?</ >2/ (366 90 >2/ '9>/<=F
           <:<D9<I   LIK?<I K?<I<@JEF8JJLI8E:<K?8K8MFK<I:8E
           <OGI<JJK?<@I@EK<EK9PLJ@E>'J9<:8LJ<U4N5?<E:FDGLK<IJ8I<
           LJ<;KFI<:FI;MFK<J K?<FI@>@E8CKI8EJ8:K@FEK?<MFK<IWJ<OGI<JJ@FE
           F=K?<MFK<J@JEFK;F:LD<EK<;@E8M<I@=@89C<N8P VLK<C<:K@FEJ
           :FE;L:K<;FE:LII<EK'J:8EEFK9<:FE=@ID<;9P8L;@KJ -<<
           GG<C <'@CCF8E;-K8IB8IK@:C<8KK8:?<;?<I<KF8JO?@9@KU#V 
           
        • *IF=<JJFI -K8IBWJ 8E; *IF=<JJFI "8C;<ID8EWJ <:C8I8K@FEJ 8CJF
           GF@EKKFK?<@EJ<:LI@KPF='J JG<:@=@:8CCPEFK@E>K?8KU'J 
           C@B<8EP:FDGLK<IJ :8E9<?8:B<;9P8CK<I8K@FEF=K?<@IJF=KN8I<
           GIF>I8DKF:?<8K@=?8:B<; K?<P:8EJPJK<D8K@:8CCP:?8E><MFK<J
           =IFDN?8KK?<MFK<I@E;@:8K<;FEK?<KFL:?J:I<<EN?<EGI@EK<;FE
           K?<G8G<I98CCFK=<NMFK<IJN@CCEFK@:< 8E;K?FJ<K?8KEFK@:<?8M<
           FECP K?< D@K@>8K@FE K?8K K?<P D@>?K 9< 89C< KF :FII<:K K?<@I FNE
           98CCFKJ EFKK?<@IE<@>?9FIJ8E;=@E8CCP I<:FLEKJFI8L;@KJN@CCJ<<
           FECP K?< =I8L;LC<EKCP D8IB<; G8G<I V -<< -K8IB -LGGC<D<EK8C
           <:C8I8K@FE 8KK8:?<; ?<I<KF 8J O?@9@K U$V 8E; "8C;<ID8E
           <:C8I8K@FE8KK8:?<;8JO?@9@KU%V 
           
        • *IF=<JJFI "8C;<ID8EWJ <:C8I8K@FE 8CJF =F:LJ@E> FE K?< ?FN K?<
           FD@E@FE0FK@E>-PJK<DJ'J<OG8E;K?<KPG<J8E;D8>E@KL;<
           F= 8KK8:BJ 9<:8LJ< K?<P E<<;C<JJCP @EA<:K :FDGLK<I JF=KN8I<
           9<KN<<EK?<MFK<I8E;K?<<OGI<JJ@FEF=?<IMFK<FEK?<98CCFK -<<
           O?@9@KU%V8KSO?@9@KU$V8KS 
    
        • OG<IKK<JK@DFEPK?8KMFK<JN8GG@E>D8CN8I<C@B<CP<O@JK<;FE9FK?
           K?< LCKFE  !<FI>@8 8E; EKI@D  '@:?@>8E <C<:K@FE D8E8><D<EK
           J<IM<IJ  #E ?@J 8==@;8M@K  !8IC8E; 8MFI@KF  8E #E=FID8K@FE
           .<:?EFCF>P<OG<IKN?FJ<IM<;8J8DFE@KFI=FIK?<=LCC?8E;:FLEK
           8L;@K@E LCKFE8E;<%8C9:FLEK@<JGI@FIKFJK8K<:<IK@=@:8K@FE8E;
           8 JL9J<HL<EK I<:FLEK  8CJF FLKC@E<J ?@J F9J<IM8K@FE F= ;@JG8I8K<
                                  

           GI8:K@:<J @E K?< 8L;@KJ 8E; I<:FLEKJ 8E; <M<E K<:?E@:8C GIF9C<DJ
           N@K?K?<FD@E@FE-PJK<D -<< 8MFI@KF==@;8M@K 8KK8:?<;?<I<KF
           8JO?@9@KU&V 
    
        • *I<JJ ,<C<8J< =IFD 0FK<I! ;F:LD<EK@E> K?8K UI8;
           ,8==<EJG<I><I @J 9CF:B@E> @KJ :8CCJ =FI =FI<EJ@: I<GFIKJ F= =8LCKP
           FD@E@FE0FK@E>-PJK<DJV -<<GI<JJI<C<8J<;8K<;-<GK<D9<I 
            8KK8:?<;?<I<KF8JO?@9@KU'V 
    
        • (<NJI<GFIK;8K<;<:<D9<I I<GFIK@E>K?8KU<DF:I8KJ
           8I<=F:LJ<;FEKLIE@E>FLKE<NMFK<IJ @E:CL;@E><C@>@9C<!<FI>@8EJ
           N?FN<I<EFKFC;<EFL>?KFMFK<@EK?<(FM<D9<I<C<:K@FE9LKN@CC
           KLIE9P$8E  (<8ICP D8@C @E98CCFKJ?8M<9<<EI<HL<JK<;
           9PI<J@;<EKJN?F;@;EFKMFK<@EK?<><E<I8C<C<:K@FE V-<<8KK8:?<;
           E<NJI<GFIK9P"8EE8'@8F 8KK8:?<;?<I<KF8J<O?@9@KU( V
    
        • (FM<D9<I )==@:@8CC<:K@FELCC<K@EJ?FN@E>K?8KK?<
           F==@:<F=K?<!<FI>@8-<:I<K8IPF=-K8K<@J9CF:B@E>=FI<EJ@:I<GFIKJ
           =FI 8LCKP FD@E@FE -PJK<DJ  #E K?@J C<KK<I =IFD K?< C<:K@FEJ
           @I<:KFI =FI !<FI>@8 -<:I<K8IP F= -K8K< KF FLEKP C<:K@FE
           @I<:KFIJ  ?< @J K<CC@E> K?<D K?8K K?<P NFLC; 9< @E M@FC8K@FE F=
           !<FI>@8C8N@=K?<P8CCFN<;=FI<EJ@:<OG<IKJKFK8B<8E@D8><:FGP
           F=K?<@I<C<:K@FED8E8><D<EKJPJK<DJFK?<P:FLC;GIF;L:<8I<GFIK
           KF ?<CG <EJLI< K?< JPJK<D @J J<:LI< 8E; D8CN8I< =I<<  "8IM<P
           :C8@D<; @E ?@J C<KK<I K?8K JL:? 8 GIFK<:K@M< D<8JLI< U:FLC; ?8ID
           <C<:K@FEJ<:LI@KP V!<FI>@8-<:I<K8IPF=-K8K< I8;,8==<EJG<I><I 
           ?8J:FEK@EL<;KFGIFK<:KK?<FD@E@FE-PJK<DJ?<GLI:?8J<;C8JK
           P<8I=IFDJ:ILK@EP;<JG@K<ELD<IFLJ=FI<EJ@:I<GFIKJ9<@E>FI;<I<;
           @E '@:?@>8E 8E; I@QFE8  9FK? F= N?@:? ILE K?< J8D< JF=KN8I<
           M<IJ@FEJLJ<;@E!<FI>@8 -<<)==@:@8CC<:K@FELCC<K@E 8KK8:?<;
           ?<I<KF8JO?@9@KU)V 
    
        • ,<GFIK98J<;FEJLDD8IPF=?<8I@E>K<JK@DFEP=IFD<:<D9<I 
            -K8E;@E> -<E8K< $L;@:@8IP FDD@KK<< =@E;@E> K?8K K?<

                                  

                 (FM<D9<I !<E<I8CC<:K@FEN8JU:?8FK@:8E;8EPI<GFIK<;
                 I<JLCKJ DLJK 9< M@<N<; 8J LEKILJKNFIK?P V .?< -L9:FDD@KK<<
                 =LIK?<IKFFBEFK@:<F=K?<M8I@FLJGL9C@:CPI<GFIK<;=LE:K@FEJF=K?<
                 D8:?@E<J 8E; ?<8I; <M@;<E:< K?8K K?< D8:?@E<J :8E ;LGC@:8K<
                 =I8L;LC<EK98CCFKJKFK?<GF@EKK?8KEFK<M<EKI8@E<;G<IJFEE<C:8E
                 K<CCK?<;@==<I<E:<9<KN<<E8K<JK98CCFK8E;8I<8C98CCFK #EK?<@I
                 I<GFIK  K?<P FLKC@E< K?8K K?< K<JK@DFEP 8CJF JL>><JK<; K?8K K?<
                 JPJK<D I<JGFE;J N@I<C<JJCP KF 9<@E> I<J<K =IFD 8E LEBEFNE
                 CF:8K@FE8J?8GG<E<;N@K?K?<GFCC9FFBJ .?<-L9:FDD@KK<<8CJF
                 ?<8I;<M@;<E:<K?8KFD@E@FED8:?@E<J:8E9<GIF>I8DD<;N@K?
                 8C>FI@K?DJK?8KI<8CCF:8K<MFK<J9<KN<<E:8E;@;8K<J #E8;;@K@FE K?<
                 JL9:FDD@KK<< 8:BEFNC<;><; K?8K FD@E@FE D8:?@E<J 8I<
                 GIF>I8DD<; KF :FLEK MFK<J LJ@E> G<I:<EK8><J F= N?FC< ELD9<IJ
                 I8K?<IK?8E8:KL8CMFK<J N?@:?@J8=<8KLI<@E:FDG8K@9C<N@K?K?<
                 8:KL8C MFK@E> GIF:<JJ  .?< -L9:FDD@KK<< =LIK?<I EFK<; K?8K K?<
                 ?@JKFIP8E;:FEKIFCF=K?<:FDG8EPK?8KFNEJK?<FD@E@FEMFK@E>
                 JPJK<D @J LE:C<8I 8E; UGIFM@;<J J<I@FLJ @DGC@:8K@FEJ F= =FI<@>E
                 @EK<I=<I<E:< @E K?< / -  <C<:K@FE V -<< =@E8C I<GFIK  8KK8:?<; 8J
                 O?@9@KU*V 
                 
      
           .?< 89FM< ;<J:I@9<; <M@;<E:< ;<DFEJKI8K<J K?< =8@CLI< F= K?<

FD@E@FE0FK@E>D8:?@E<WJ?8I;N8I<8E;JF=KN8I<8E;K?<I<8C@KPK?8KK?<MFK<J

K8CC@<;9PK?<FD@E@FEJPJK<D;FEFKI<GI<J<EKK?<MFK<J8J:8JK9PK?<MFK<IJEFI

K?<@IN@CCN@K?I<>8I;KFK?<I<JLCKJF=K?<*I<J@;<EK@8CC<:K@FE #K@J:C<8IK?8K

K?<ILEF==<C<:K@FE@J;FFD<;KFI<G<8KK?@J=8@CLI<LEC<JJK?@JFLIK@EK<IM<E<J .F

9<JLI< K?<*C8@EK@==WJGIFF=J;<DFEJKI8K<K?8KK?<FLKGLK=IFDFD@E@FE0FK@E>

'8:?@E<J8I<EFK8::LI8K<8E;K?<@II<GFIK<;I<JLCKJ:8EEFK9<KILJK<; 



                                      

           JJLD@E> +<1?/8.9 K?@J FLIK @J EFK J8K@J=@<; K?8K *C8@EK@== ?8J

GI<J<EK<;:FE:CLJ@M<GIFF= 8K8M<IPD@E@DLD K?<*C8@EK@==?8JGI<J<EK<;8:<37+

0+-3/J?FN@E>K?8KK?<@I8JJ<IK@FEJ8I<:FII<:K 8E;8::FI;@E>CP K?@JFLIKJ?FLC;

<DGCFP89LI;<EJ?@=K@E>8E8CPJ@JN?<I<9P@KJ?FLC;9<K?<<=<E;8EKJW9LI;<EKF

:FD<=FIK?N@K?<M@;<E:<J8K@J=8:KFIPKFK?@JFLIKKF:FE:CLJ@M<CP;@JGIFM<@EI<9LK

K?<*C8@EK@==WJ:C8@DJ --9<.':FEE<CCFL>C8JFIG M !I<<E - K 

 

                                                 
                                       5*80(17

           CK?FL>?K?<*C8@EK@==?8JJL9D@KK<;J<IM@:<:FG@<JF=8CC=@C@E>J@EK?@J

8:K@FEKF:FLEJ<CBEFNEKF:LII<EKCPI<GI<J<EKK?<<=<E;8EKJ?<I<@E JF8JKF8==FI;

K?<D@DD<;@8K<8:KL8CEFK@:<F=K?@JD8KK<I <==FIKJ8I<EFE<K?<C<JJLE;<IN8PKF

=FID8CCPJ<IM<<=<E;8EKJN@K?GIF:<JJ 

           .FK?<<OK<EK8KK?<K@D<F=K?<?<8I@E>FEK?@J<D<I><E:PDFK@FE K?<

<=<E;8EKJ8I<;<<D<;EFKKF?8M<EFK@:< K?<EK?<*C8@EK@==I<HL<JKJ8K<DGFI8IP

I<JKI8@E@E>FI;<I@E8::FI;8E:<N@K? <;<I8C,LC<9 N?@:?GIFM@;<J=FIK?<

@JJL8E:< F= K<DGFI8IP I<JKI8@E@E> FI;<IJ N@K?FLK EFK@:<  8J<; FE K?< 0<I@=@<;

FDGC8@EK8E;K?<8==@;8M@KJ8E;;F:LD<EKJ8KK8:?<;?<I<KF *C8@EK@==?8JJ?FNE

K?8K@DD<;@8K<8E;@II<G8I89C<?8IDN@CCI<JLCKLEC<JJI<C@<=@J8==FI;<;9<=FI<K?<


                                     

<=<E;8EKJ:8E9<?<8I;@EFGGFJ@K@FE .?@J@JG8IK@:LC8ICPJF 8J?<I<<M<IP<==FIK

?8J9<<ED8;<KF>@M<K?<<=<E;8EKJEFK@:< 

              #= ?FN<M<I 8KK?<K@D<F=K?@J<D<I><E:P?<8I@E> @K@J<JK89C@J?<;K?8K

K?< <=<E;8EKJ ?8M< EFK@:< 8E; 8E FGGFIKLE@KP KF 9< ?<8I;  K?<E K?< *C8@EK@==J

I<HL<JKK?8KK?@JFLIK@JJL<8GI<C@D@E8IP@EALE:K@FEGLIJL8EKKF <;<I8C,LC<8 

              <:8LJ< F= K?< <D<I><E:P E8KLI< F= K?@J DFK@FE 8E; K?< I<C@<=

I<HL<JK<;  K?< *C8@EK@== JL9D@KJ K?8K 8E @DD<;@8K< FI;<I 8E; N8@M<I F= K?< LJL8C

GIF:<;LI<JLE;<I&F:8C,LC< @J8GGIFGI@8K<GLIJL8EKKF&F:8C,LC<J 8E;

  

                                    

/$,17,))$67$1',1*

              U J@>E@=@:8EK ;<G8IKLI< =IFD K?< 4-K8K<WJ5 C<>@JC8K@M< J:?<D< =FI

8GGF@EK@E>*I<J@;<EK@8C<C<:KFIJVFI=FI<C<:K@E>D<D9<IJF=K?< <;<I8CFE>I<JJ

UGI<J<EKJ 8 <;<I8C FEJK@KLK@FE8C HL<JK@FE V ?=2 @  9</   / -    

,<?EHL@JK  $ :FE:LII@E> 

             .?<*C8@EK@== 8J?FC;<IF=K?<=LE;8D<EK8CI@>?KKFMFK<?8JJK8E;@E>

KFJ<<BI<;I<JJN?<ELE:FEJK@KLK@FE8CJK8K<8:K@FEJ@E=I@E><LGFE ;@CLK< FI;<EPK?<

I@>?KKFMFK< .?<-LGI<D<FLIKI<:F>E@Q<;@E+5/<@ +<< - K  

  K?8K 8 >IFLG F= HL8C@=@<; MFK<IJ ?8; JK8E;@E> KF :?8CC<E>< K?<

                                        

:FEJK@KLK@FE8C@KP F= 8 I<;@JKI@:K@E> JK8KLK<  E @E;@M@;L8CWJ UI@>?K F= JL==I8><V @J

U;<E@<; 9P 8 ;<98J<D<EK FI ;@CLK@FE F= K?< N<@>?K F= 8 :@K@Q<EWJ MFK< ALJK 8J

<==<:K@M<CP8J9PN?FCCPGIF?@9@K@E>K?<=I<<<O<I:@J<F=K?<=I8E:?@J< V#/C896.=@ 

$37= / -  89I@;>D<EKF=HL8C*IFK<:K@FEI@>?KJJ<<8CJF

<+A09<.@ +<398>C 6/- .  ; K?@I  8==W; 

/ - 6+ $>+>/980 90>2/ "@ <9A8381  -LGG ; 

 (   C8    0FK<IJ K?<I<=FI< ?8M< 8 C<>8CCP :F>E@Q89C< @EK<I<JK @E

GI<M<EK@E>U;@CLK@FEVF=K?<@IMFK<K?IFL>?@DGIFG<ID<8EJ +5/<@ #/1G6312

$-2 3=>  ; E ;@I U#K@J ?FN<M<I K?<<C<:KFIJN?FJ<

MFK<@J9<@E>;@CLK<;8E;8JJL:?K?<@I@EK<I<JKJ8I<HL@K<GIFG<ICP9<=FI<K?<:FLIK V

.?@J8GGC@<JKFGI<M<EKMFK<J=IFD9<@E>:8JK9PG<IJFEJN?FJ<J@>E8KLI<J?8M<EFK

9<<EM<I@=@<;@EK?<D8EE<IGI<J:I@9<;9PK?<!<FI>@8&<>@JC8KLI< N?FJ<98CCFKJ

?8M<9<<EFG<E<;<8ICP N?FJ<98CCFKJ?8M<9<<E;IFGG<;@ELE8LK?FI@Q<;98CCFK

9FO<J  8E; N?FJ< MFK<J ?8M< 9<<E ;@CLK<; K?IFL>? LJ< F= LEI<C@89C< 8E;

:FDGIFD@J<;FD@E@FE0FK@E>-PJK<D?8I;N8I<8E;JF=KN8I< 

           -@D@C8ICP @E<+C@ $+8./<= - K  K?<-LGI<D<FLIK

F9J<IM<;K?8K8EPG<IJFEN?FJ<I@>?KKFMFK<N8J@DG8@I<;9P<C<:K@FEGIF:<;LI<J

?8;JK8E;@E>KFJL<FEK?<>IFLE;JK?8KK?<JPJK<DLJ<;@E:FLEK@E>MFK<JM@FC8K<;

K?<HL8C*IFK<:K@FEC8LJ< #E;<<; <M<IPMFK<IWJMFK<@J<EK@KC<;KF9<:FII<:KCP

                                        

:FLEK<;FE:<8E;I<GFIK<; 8E;KF9<GIFK<:K<;=IFDK?<;@CLK@E><==<:KF=@CC<>8C

98CCFKJ  .  8K   -<< 8CJF  -+38 @  3/<         ;     @I 

MFK<I ?8; JK8E;@E> KF :?8CC<E>< :FEJK@KLK@FE8C@KP F= (FIK? 8BFK8 98CCFK

8::<JJ C8NJ +<>38 @  /7:               -LGG  ;    (   !8 

@E;@M@;L8C MFK<IJ N?FJ< 89J<EK<< 98CCFKJ N<I< I<A<:K<; FE K?< 98J@J F=

J@>E8KLI< D@JD8K:? ?8; JK8E;@E> KF 8JJ<IK :FEJK@KLK@FE8C :?8CC<E>< KF 89J<EK<<

MFK@E>JK8KLK< 

           .?<:FLIK@E#9/@ 6+,+7+  ;  @I 

?<C; K?8K 8 MFK<I JL==@:@<EKCP 8CC<><; K?< M@FC8K@FE F= 8 I@>?K J<:LI<; 9P K?<

FEJK@KLK@FEKFJLGGFIK8J<:K@FE:C8@D98J<;FEK?<:FLEK@E>F=@DGIFG<ICP

:FDGC<K<;89J<EK<<98CCFKJ #E#9/ K?<MFK<I8E;KNF:8E;@;8K<J=FIF==@:<JFL>?K

@EALE:K@M<I<C@<=GI<M<EK@E><E=FI:<D<EKF=8EC898D8:@I:L@K:FLIKFI;<II<HL@I@E>

K?8K@DGIFG<ICP:FDGC<K<;89J<EK<<98CCFKJ9<:FLEK<; .?<C<M<EK?@I:L@KFLIK

JK8K<;K?8K=8@C@E>KF<O:CL;<K?<J<;<=<:K@M<89J<EK<<98CCFKJ:FEJK@KLK<;8;<G8IKLI<

=IFDGI<M@FLJGI8:K@:<@EC898D88E;K?8K:FLEK@E>K?<DNFLC;;@CLK<K?<MFK<J

F=FK?<IMFK<IJ .  ,<:F>E@Q@E>K?8KUK?<I@>?KF=JL==I8><:8E9<;<E@<;9P8

;<98J<D<EK FI ;@CLK@FE F= K?< N<@>?K F= 8 :@K@Q<EWJ MFK< ALJK 8J <==<:K@M<CP 8J 9P

N?FCCP GIF?@9@K@E> K?< =I<< <O<I:@J< F= K?< =I8E:?@J<V  K?< :FLIK DF;@=@<; 9LK



                                         

8==@ID<; K?< GI<C@D@E8IP @EALE:K@FE @JJL<; 9P K?< ;@JKI@:K :FLIK @E K?8K :8J< 8E;

<EAF@E<;K?<@E:CLJ@FE@EK?<MFK<:FLEKF=K?<;<=<:K@M<89J<EK<<98CCFKJ . 

             LIK?<I @E97798+?=/ /9<13+@ 366?:=  ; 

@I K?<C<M<EK?@I:L@K?<C;K?8KMFK<IJ?8;JK8E;@E>KF:?8CC<E><K?<

I<HL@I<D<EKF=GI<J<EK@E>>FM<IED<EK@JJL<;G?FKF@;<EK@=@:8K@FE8J8:FE;@K@FEF=

9<@E> 8CCFN<; KF MFK<  .?< GC8@EK@== MFK<IJ @E K?8K :8J< ;@; EFK ?8M< G?FKF

@;<EK@=@:8K@FE  8E; :FEJ<HL<EKCP  NFLC; 9< I<HL@I<; KF D8B< 8 JG<:@8C KI@G KF K?<

:FLEKPI<>@JKI8IWJF==@:<K?8KN8JEFKI<HL@I<;F=MFK<IJN?F?8;@;<EK@=@:8K@FE . 

  .?<I< N8J EF @DG<;@D<EK KF K?< GC8@EK@==WJ 89@C@KP KF F9K8@E 8 =I<< MFK<I

@;<EK@=@:8K@FE:8I; CK?FL>?K?<9LI;<EFEK?<*C8@EK@==MFK<IJN8JJC@>?K@E?8M@E>

KF F9K8@E @;<EK@=@:8K@FE  K?< C<M<EK? @I:L@K ?<C; K?8K 8 JD8CC @EALIP  <M<E U8E

@;<EK@=@89C<KI@=C<VN8JJL==@:@<EKKF:FE=<IK?<DJK8E;@E>KF:?8CC<E><K?<<C<:K@FE

GIF:<;LI< . 

           #E/9<1/@ +=6+7  -LGG ; '  .<EE  

I<>@JK<I<;MFK<IJN<I<=FLE;KF?8M<JK8E;@E>KFJL<K?<JK8K<>FM<IEFI8E;FK?<IJ

98J<;FEK?<8CC<>8K@FEK?8KK?<D<K?F;9PN?@:?MFK<J:8JK@EK?<<C<:K@FEN<I<

:FLEK<;M@FC8K<;K?<@II@>?KJKFHL8C*IFK<:K@FE .?8K:FLIKF9J<IM<;K?8K:@K@Q<EJ

?8M<8:FEJK@KLK@FE8CCPGIFK<:K<;I@>?KKFG8IK@:@G8K<@E<C<:K@FEJFE8E<HL8C98J@J



                                       

N@K?FK?<I:@K@Q<EJ 8E;K?<<HL8CGIFK<:K@FE:C8LJ<GIF?@9@K<;K?<JK8K<=IFDM8CL@E>

FE<G<IJFEWJMFK<FM<IK?8KF=8EFK?<I . 

           #E /A +  "<94/-> @  #+00/8=:/<1/<   1&  (   !8 

L>LJK  I<>@JK<I<;MFK<IJ?8;JK8E;@E>KFJL<K?<!<FI>@8-<:I<K8IPF=

-K8K< 8E; K?< -K8K< C<:K@FE F8I; :?8CC<E>@E> GFC@:@<J >FM<IE@E> !<FI>@8WJ

89J<EK<<MFK@E>GIF:<JJ@EC@>?KF=;8E><IJGI<J<EK<;9PFM@;  

            LIK?<I K?<;@JKI@:K:FLIK@E3..6/>98@ 8.389 1&

8K -  -<GK<D9<I ILC<;K?8K8MFK<I?8;JK8E;@E>KF:?8CC<E><8E

89J<EK<< 98CCFK J@>E8KLI< I<HL@I<D<EK 8E; 8 I<HL@I<D<EK K?8K 89J<EK<< 98CCFKJ 9<

I<:<@M<;FE<C<:K@FE;8P@EFI;<IKF9<:FLEK<; 27$%/;7+(&28572%6(59('7+$7

7+()$&77+$7$1,1-85;0$;%(68))(5('%;$/$5*(180%(52)3(23/('2(6127

%;,76(/)0$.(7+$7,1-85;$121-867,&,$%/(*(1(5$/,<('*5,(9$1&( 8JCFE>8J

<8:?@E;@M@;L8CJL==<IJG8IK@:LC8I@Q<;?8ID 8E;MFK<IJN?F8CC<><=8:KJJ?FN@E>

;@J8;M8EK8><KFK?<D?8M<JK8E;@E>KFJL< . 

           #E;<<;  K?< MFK<I *C8@EK@== ?8J J?FNE K?8K 8J 8 MFK<I  ?< ?8J C<>8C

JK8E;@E>KFD8@EK8@EK?<:?8CC<E><KFK?<<=<E;8EKJWLE:FEJK@KLK@FE8CGIF:<;LI<J

@DGC<D<EK<;=FIK?<$8EL8IP -<E8KFI@8C,LEF==C<:K@FE@E!<FI>@8 --9<.

3>3D/8=09</13=6+>3@/293-/@ 366/<  -LGG     '@:? 

MFK<IJN?FN@J?<;KFMFK<=FIJG<:@=@::8E;@;8K<J@E8E<C<:K@FE?8;JK8E;@E>

                                       

KF:?8CC<E><:FEJK@KLK@FE8C@KPF=8JK8K<:FEJK@KLK@FE8C8D<E;D<EK<JK89C@J?@E>K<ID

C@D@KJ=FIJK8K<C<>@JC8KFIJ ::FI;@E>CP *C8@EK@==?8JJK8E;@E>=FIK?@JJL@K 

+(7$1'$5' )25(/,()

       .?< /E@K<; -K8K<J -LGI<D< FLIK JLDD8I@Q<; K?< K<JK =FI K?<

>I8EK@E> F= 8GI<C@D@E8IP @EALE:K@FE @E (38>/<@  #8- / -  



                GC8@EK@== J<<B@E> 8 GI<C@D@E8IP @EALE:K@FE DLJK
        <JK89C@J? K?8K ?< @JC@B<CP KF JL::<<; FE K?< D<I@KJ K?8K ?< @J
        C@B<CP KF JL==<I @II<G8I89C< ?8ID @EK?< 89J<E:< F=GI<C@D@E8IP
        I<C@<=  K?8K K?< 98C8E:< F= <HL@K@<JK@GJ@E?@J=8MFI 8E;K?8K8E
        @EALE:K@FE@J@EK?<GL9C@:@EK<I<JK 
      $// +6=96+,+7+ @  &83>/.$>+>/= <7C 9<:= 90 81=             ;

 K?@I  .?<J< 8I<EFK I@>@; I<HL@I<D<EKJ KF 9< 8GGC@<;

9P IFK<  .?< <JJ<E:< F= <HL@KP ALI@J;@:K@FE ?8J 9<<E K?< GFN<I F= K?<

?8E:<CCFI KF ;F <HL@KP 8E; KF DFC; <8:? ;<:I<< KF K?< E<:<JJ@K@<J F= K?<

G8IK@:LC8I :8J<      C<O@9@C@KP I8K?<I K?8E I@>@;@KP ?8J ;@JK@E>L@J?<; @K 

(/38,/<1/< @  #97/<9 +<-/69  / -       4.5?< >I8EK@E>

F= 485 GI<C@D@E8IP @EALE:K@FE I<JKJ @E K?< JFLE; ;@J:I<K@FE F= K?<;@JKI@:K

:FLIK  +<<3= 9<: @  +>6 <+83+8#+.39  %/6/@3=398           ;  

K?@I   




                                      

              45 GI<C@D@E8IP @EALE:K@FE@J:LJKFD8I@CP >I8EK<;FE K?< 98J@J

F= GIF:<;LI<JK?8K8I<C<JJ=FID8C 8E; <M@;<E:<K?8K@JC<JJ:FDGC<K<K?8E @E

8KI@8C FE K?< D<I@KJ &83@/<=3>C90%/B+=@  +7/83=-2/ -  

/@3$><+?== 9  @  $?8<3=/ 8>6%<+.381 8-              ;  

K? @I  8K K?< GI<C@D@E8IP@EALE:K@FE JK8><  8 ;@JKI@:K :FLIK D8P

I<CP FE 8==@;8M@KJ 8E; ?<8IJ8P D8K<I@8CJ N?@:? NFLC; EFK 9< 8;D@JJ@9C<

<M@;<E:<=FI8G<ID8E<EK@EALE:K@FE 

             *C8@EK@== ;<DFEJKI8K<J ?<I<@E 8CC =FLI <C<D<EKJ =FI <HL@K89C<

    I<C@<=  1?<EK?< JK8K< C<>@JC8KLI< M<JKJ K?< I@>?K KF MFK< =FI *I<J@;<EK@E @KJ

    G<FGC<  K?< I@>?K KF MFK<                8E;

    FE<JFLI:<F=@KJ=LE;8D<EK8CE8KLI< C@<J @E K?< <HL8C N<@>?K8::FI;<; KF <8:?

    MFK< 8E; K?< <HL8C ;@>E@KPFN<; KF <8:? MFK<I  ?=2@  9</  / -   

    <DG?8J@J8;;<;  .?<<M@;<E:<J?FNJK?8KK?<<=<E;8EKJ 8I<8E;

    N@CC8;D@E@JK<IK?<ILEF==<C<:K@FE=FIK?<KNF/ - -<E8K<J<8KJ=IFD!<FI>@8@E

    8 D8EE<I ;@==<I<EK =IFD N?@:? N8J <OGI<JJCP GI<J:I@9<; 9P K?< !<FI>@8

    &<>@JC8KLI<  8E; 8CJF K?8K <=<E;8EKJ M@FC8K<; *C8@EK@==WJ <HL8C GIFK<:K@FE

    I@>?KJ  ;L< GIF:<JJ I@>?KJ  8E; K?< !L8I8EK<< F= 8 ,<GL9C@:8E =FID F=

    >FM<IED<EK /EC<JJK?<ILEF==<C<:K@FE@J?8CK<;8E;K?<<=<E;8EKJ8I<<EAF@E<;


                                            

    =IFD K?<@I FE>F@E> :FEJK@KLK@FE8C M@FC8K@FEJ  *C8@EK@== N@CC 9< C<=K N@K? EF

    I<D<;P 9<:8LJ< !<FI>@8J<C<:KFI8CMFK<J =FI*I<J@;<EK N@CCEFK 9< 8N8I;<; KF

    K?<GIFG<I :8E;@;8K< 

                  /$,17,)) +$6$68%67$17,$/ /,.(/,+22' 2)68&&(66217+(0(5,76


            *C8@EK@== ?8J D8;< 8 :I<;@9C< J?FN@E> K?8K <=<E;8EKJ 

@EK<EK@FE8C 8:K@FEJA<FG8I;@Q<;K?<I@>?KJF=K?<*C8@EK@==KFJ<C<:K?@J C<8;<IJ

LE;<IK?<GIF:<JJ J<K FLK 9P K?< !<FI>@8&<>@JC8KLI<  <=<E;8EKJ :FE;L:K

M@FC8K<; *C8@EK@==WJ:FEJK@KLK@FE8CI@>?KJ@EDLCK@GC<N8PJ8J;<J:I@9<;@EK?<

0<I@=@<;FDGC8@EK8E;?<I<@E  

          UM<IPMFK<I@E8=<;<I8C   <C<:K@FE N?<K?<I?<MFK<J=FI8:8E;@;8K<

N@K?C@KKC<:?8E:<F=N@EE@E>FI=FIFE<N@K?C@KKC<:?8E:<F=CFJ@E> ?8J8I@>?KLE;<I

K?< FEJK@KLK@FE KF ?8M< ?@J MFK< =8@ICP :FLEK<;  N@K?FLK @KJ 9<@E> ;@JKFIK<; 9P

=I8L;LC<EKCP:8JKMFK<J V8./<=98@ &83>/.$>+>/=/ -  =//

+6=9+5/<@ +<</ -   #EM8C@;FI=I8L;LC<EKMFK<JU;<98J<V

8E;U;@CLK<VK?<N<@>?KF=<8:?M8C@;CP:8JKMFK< $//8./<=98 / - 8K 

          .?<I@>?KKF8E?FE<JK4:FLEK5@J8I@>?KGFJJ<JJ<;9P<8:?MFK@E><C<:KFI 

8E;KFK?<<OK<EKK?8KK?<@DGFIK8E:<F=?@JMFK<@JELCC@=@<; N?FCCPFI@EG8IK ?<

?8J9<<E@EALI<;@EK?<=I<<<O<I:@J<F=8I@>?KFIGI@M@C<><J<:LI<;KF?@D9PK?<

C8NJ8E;FEJK@KLK@FEF=K?</E@K<;-K8K<J V8./<=98 / - 8K;?9>381
                                         

"<3-2+<. @  &83>/. $>+>/=   ;    K? @I   +00. .?/ >9 +,=/8-/ 90

;?9<?7 / -  

          *I8:K@:<JK?8KGIFDFK<K?<:8JK@E>F=@CC<>8CFILEI<C@89C<98CCFKJFI=8@C

KF :FEK8@E 98J@: D@E@DLD >L8I8EK<<J 8>8@EJK JL:? :FE;L:K  :8E M@FC8K< K?<

    FLIK<<EK? D<E;D<EK 9P C<8;@E> KF K?< ;@CLK@FE F= M8C@;CP :8JK 98CCFKJ  $//

#/C896.= / - 8KU4.5?<I@>?KF=JL==I8><:8E9<;<E@<;9P8;<98J<D<EK

FI ;@CLK@FE F= K?< N<@>?K F= 8 :@K@Q<EWJ MFK< ALJK 8J <==<:K@M<CP 8J 9P N?FCCP

GIF?@9@K@E>K?<=I<<<O<I:@J<F=K?<=I8E:?@J< V 


$()(1'$176 9,2/$7('7+(48$/527(&7,21 /$86(

             1?<E;<:@;@E>8:FEJK@KLK@FE8C:?8CC<E><KFJK8K< <C<:K@FE C8NJ K?<

=C<O@9C< JK8E;8I; FLKC@E<; @E8./<=98@  /6/,</DD/ / -   8E;

?<.3-5@ %+5?=23/ -   8GGC@<J  /E;<I8./<=988E;?<.3-5

:FLIKJ DLJKN<@>?K?<:?8I8:K<I8E;D8>E@KL;<F=K?<9LI;<EK?<-K8K<JILC<

@DGFJ<J FEK?FJ< I@>?KJ 8>8@EJK K?< @EK<I<JKJ K?< -K8K< :FEK<E;JALJK@=P K?8K

9LI;<E  8E; :FEJ@;<I K?< <OK<EK KF N?@:? K?< -K8K<J :FE:<IEJ D8B< K?<

9LI;<E E<:<JJ8IP  %37798= @  %A383>3/=< /+ /A "+<>C/ -   

  :@K8K@FEJ 8E; HLFK8K@FEJ FD@KK<; 45M<E N?<E 8 C8N @DGFJ<J

FECP 8JC@>?K 9LI;<E FEK?< I@>?K KF MFK< I<C<M8EK8E;C<>@K@D8K<@EK<I<JKJF=


                                        

JL==@:@<EKN<@>?KJK@CCDLJKALJK@=P K?8K9LI;<E  /79-<+>3-B/- 977 90

6+ @ // ;  K?@I  

          .F <JK89C@J? 8E LE;L< 9LI;<E FE K?< I@>?K KF MFK< LE;<I K?<

8./<=98  ?<.3-5 K<JK  *C8@EK@== E<<; EFK ;<DFEJKI8K< ;@J:I@D@E8KFIP @EK<EK

9<?@E; K?<J@>E8KLI< D8K:? J:?<D< FIK?<<8ICPFG<E@E>F=98CCFKJ FI K?<LJ<F=

LE8LK?FI@Q<; 98CCFK ;IFG 9FO<J  FI K?< LJ< F= K?< FD@E@FE 0FK@E> D8:?@E<J

9<:8LJ< K?<FLIK@J :FEJ@;<I@E> K?< :FEJK@KLK@FE8C@KP F=8 ><E<I8C@Q<; 9LI;<E

FEK?<=LE;8D<EK8CI@>?KKFMFK< FEN?@:?K?<FLIK@JKF8GGCPK?<8. /<=98

?<.3-598C8E:@E> K<JK // ; 8K  

          *C8@EK@==WJ<HL8CGIFK<:K@FE:C8@D@JJKI8@>?K=FIN8I; JK8K<JD8PEFK 

9P8I9@KI8IP 8:K@FE FI FK?<I LEI<8JFE89C< @DG8@ID<EK  9LI;<E 8 :@K@Q<EJI@>?K

KFMFK< $// +5/< @ +<<  / -   :@K@Q<EJ I@>?KKF8 MFK<

=I<<F=8I9@KI8IP @DG8@ID<EK 9P JK8K<8:K@FE?8J9<<EAL;@:@8CCP I<:F>E@Q<; 8J8

I@>?K J<:LI<;9P K?< FEJK@KLK@FE "8M@E> FE:< >I8EK<;K?< I@>?K KF MFK<FE

<HL8CK<IDJ K?<-K8K<D8PEFK 9PC8K<I8I9@KI8IP8E;;@JG8I8K<KI<8KD<EK  M8CL<

FE<G<IJFEJMFK<FM<I K?8KF= 8EFK?<I  ?=2 / - 8K  DFE>FK?<I

K?@E>J  K?@J I<HL@I<J JG<:@=@: ILC<J ;<J@>E<; KF <EJLI< LE@=FID KI<8KD<EK @E

FI;<IKF GI<M<EK8I9@KI8IP8E; ;@JG8I8K< KI<8KD<EKKF MFK<IJ  . 8K =//

+6=9?88 @ 6997=>/38/ -  GIFM@;@E>K?8K <8:?:@K@Q<E

                                      

?8J 8:FEJK@KLK@FE8CCPGIFK<:K<; I@>?K KF G8IK@:@G8K< @E <C<:K@FEJ FE 8E <HL8C

98J@J N@K?FK?<I:@K@Q<EJ@EK?<ALI@J;@:K@FE 

           .?< I@>?K KF MFK< <OK<E;J KF 8CC G?8J<J F= K?< MFK@E> GIF:<JJ 

=IFD 9<@E>G<ID@KK<; KFGC8:< FE<J MFK< @E K?< 98CCFK 9FO KF ?8M@E> K?8K MFK<

8:KL8CCP:FLEK<; .?LJ K?<I@>?K KFMFK< 8GGC@<J <HL8CCP KFK?< @E@K@8C 8CCF:8K@FE

F= K?< =I8E:?@J< 8J N<CC 8JK?< D8EE<I F= @KJ <O<I:@J<  )E:< K?< I@>?K KF MFK<

@J>I8EK<; 8JK8K<D8PEFK ;I8N;@JK@E:K@FEJ9<KN<<EMFK<IJK?8K8I<@E:FEJ@JK<EK

N@K? K?< >L8I8EK<<J F= K?< FLIK<<EK? D<E;D<EKJ <HL8C GIFK<:K@FE :C8LJ< 

"3/<-/ @ 66/12/8C 9?8>C. 906/->398= -LGG ;  1  *8 

 :@K8K@FEJ 8E; HLFK8K@FEJ FD@KK<;  4.5I<8K@E> MFK<IJ ;@==<I<EKCP K?LJ

M@FC8K<4J5 K?< HL8C *IFK<:K@FE C8LJ< N?<E K?< ;@JG8I8K< KI<8KD<EK @J K?<

I<JLCK F= 8I9@KI8IP  8; ?F: GIF:<JJ<J 2+<0+?<9=@  . 90 6/->398=       ;

  K? @I    #E;<<;  8 D@E@DLD I<HL@I<D<EK =FI EFE 8I9@KI8IP

KI<8KD<EK F= MFK<IJ 4@J5 E<:<JJ8IP KF J<:LI< K?< =LE;8D<EK8C I@>?K 4KFMFK<5 

?=2/ - 8K  

           <=<E;8EKJ 8I< EFK K?< !<FI>@8 &<>@JC8KLI< 8E; :8EEFK <O<I:@J<

C<>@JC8K@M< GFN<I KF <E8:K ILC<J FI I<>LC8K@FEJ I<>8I;@E> K?< ?8E;C@E> F=

;<=<:K@M<89J<EK<< 98CCFKJ <8ICPFG<E@E>F=98CCFKJ FIK?<;<C@M<IPF=98CCFKJ K?8K

8I< :FEKI8IP KF K?< !<FI>@8 C<:K@FE -K8KLK<J  P <EK<I@E> K?< &@K@>8K@FE

                                       

-<KKC<D<EK  ?FN<M<I  <=<E;8EKJ LE@C8K<I8CCP8E; N@K?FLK 8LK?FI@KP 8CK<I<; K?<

!<FI>@8 C<:K@FE F;< 8E; K?< GIF:<;LI<=FI GIF:<JJ@E> ;<=<:K@M< 89J<EK<<

98CCFKJ  .?< I<JLCK @JK?8K 89J<EK<< 98CCFKJ ?8M< 9<<E GIF:<JJ<; ;@==<I<EKCP 9P

FLEKP )==@:@8CJ K?8E K?< GIF:<JJ:I<8K<; 9P K?< !<FI>@8 &<>@JC8KLI< 8E; J<K

=FIK? @E K?< !<FI>@8 C<:K@FEF;<  LIK?<I  8CCFN@E> 8 J@E>C< GFC@K@:8CG8IKP KF

NI@K< ILC<J =FI I<M@<N@E>J@>E8KLI<J 8JG8I8>I8G? F=K?< &@K@>8K@FE-<KKC<D<EK

GIFM@;<J  @J EFK:FE;L:@M<KF K?< =8@I :FE;L:KF=GI@D8I @<J 8E; <C<:K@FEJ FI

:FEJ@JK<EK N@K? C8NLE;<I )  !   R   

           .?< ILC<J 8E; I<>LC8K@FEJ J<K =FIK? @E K?< &@K@>8K@FE -<KKC<D<EK

:I<8K<; 8E 8I9@KI8IP  ;@JG8I8K<  8E; 8; ?F: GIF:<JJ =FI GIF:<JJ@E>;<=<:K@M<

89J<EK<< 98CCFKJ 8E;=FI ;<K<ID@E@E>N?@:?F=JL:?98CCFKJ J?FLC;9<I<A<:K<; 

:FEKI8IPKF!<FI>@8 C8N  .?@J ;@JG8I8K< KI<8KD<EK @JEFKALJK@=@<; 9P  8E; @JEFK

E<:<JJ8IPKF GIFDFK< 8EP JL9JK8EK@8CFI :FDG<CC@E> JK8K< @EK<I<JK K?8K :8EEFK

9<8::FDGC@J?<;9PFK?<I C<JJ I<JKI@:K@M<D<8EJ 

            FIK?<J8D<I<8JFEJ K?<<=<E;8EKJ8I<EFK8LK?FI@Q<;8E;:8EEFK

G<ID@JJ@9CP :?8E>< K?< JK8K< :FEJK@KLK@FE @E FI;<I KF 8CCFN MFK<IJ N?F N<I< EFK

<C@>@9C<KFMFK<@EK?<*I<J@;<EK@8CC<:K@FEKFMFK<@EK?<LG:FD@E>ILEF== 

.?<P8CJFD8PEFK:?8E><K?<C8NI<C8K@M<KFK?<FG<E@E>8E;;<C@M<IPF=89J<EK<<

98CCFKJ  !<FI>@8 JK8KL<J GIF?@9@K FG<E@E> 89J<EK<< 98CCFKJ 9<=FI< C<:K@FE 8P 

                                       

<=<E;8EKJWLE8LK?FI@Q<;ILC<:?8E><;K?<C8N9PGIFM@;@E>=FI89J<EK<<98CCFKJ

KF 9< FG<E<; K?I<< N<<BJ 9<=FI< C<:K@FE 8P  .?< JK8KLK< 8E; K?< ILC< 8I< 8E

@II<:FE:@C89C<:FE=C@:K 

           ;;@K@FE8CCP  !<FI>@8 -K8K< &8N ;F<J EFK 8LK?FI@Q< K?< LJ< F=

LE8KK<E;<;;IFG9FO<J=FIK?<;<C@M<IPF=89J<EK<<98CCFKJKF<C<:K@FEF==@:@8CJ .?<

<=<E;8EKJWILC<@CC<>8CCP<JK89C@J?<J8E;@DGC<D<EKJK?<LJ<F=<O8:KCPJL:?98CCFK

;IFG 9FO<J  >8@E  K?< ILC< @J @II<:FE:@C89C< N@K? K?< JK8KLK<  /E;<I K?<J<

:@I:LDJK8E:<J K?<ILC<DLJKP@<C;KFK?<JK8KL<FI9<JKI@:B<E .?<<=<E;8EKJ8I<

EFK G<ID@KK<; LE;<I K?< FEJK@KLK@FE KF :?8E>< -K8K< &8N  J JL:?  K?<I< @J 8

JL9JK8EK@8CC@B<C@?FF;K?8K*C8@EK@==N@CC9<JL::<JJ=LC@E;<DFEJKI8K@E>K?8K?<?8J

9<<E ?8ID<; 9P <=<E;8EKJM@FC8K@FEJ F=K?<@I <HL8CGIFK<:K@FE I@>?KJ 8E; 8E

@EALE:K@FEJ?FLC;9< @JJL<;KF?8CKK?<ILEF==<C<:K@FE8E;I<HL@I<<=<E;8EKJ

KF:LI<K?<@IM@FC8K@FEJ@E8:FEJK@KLK@FE8CD8EE<I 

%+(()(1'$176!,2/$7('7+( 8(52&(66/$86(

           .?< GIF:<;LI<J LK@C@Q<; @E K?< ILEF== <C<:K@FE 8J ;<J:I@9<; @E K?<

0<I@=@<;FDGC8@EKM@FC8K<K?<*C8@EK@==WJI@>?KKF;L<GIF:<JJ .?<89IF>8K@FEF=

K?<89J<EK<<98CCFKJ@>E8KLI<M<I@=@:8K@FEJK8KLK< F=K?<I<HL@I<D<EKK?8K89J<EK<<

98CCFKJ EFK 9< FG<E<; 9<=FI< <C<:K@FE ;8P  K?< @EJK8CC8K@FE F= LE8LK?FI@Q<; 98CCFK

;IFG 9FO<J  8E; K?< LJ< F= K?< :FDGIFD@J<; FD@E@FE MFK@E> D8:?@E<J  N?<E

                                        

:FEJ@;<I<; J@E>LC8ICP 8E; :<IK8@ECP N?<E :FEJ@;<I<; :FCC<:K@M<CP  I<E;<I K?<

<C<:K@FE GIF:<;LI<J =FI K?< ILEF== JF ;<=<:K@M< 8E; LEC8N=LC 8J KF :FEJK@KLK< 8

M@FC8K@FE F= *C8@EK@==WJ I@>?K KF GIF:<;LI8C ;L< GIF:<JJ LE;<I K?< FLIK<<EK?

D<E;D<EKKFK?<FEJK@KLK@FE 

            .?< /E@K<; -K8K<J -LGI<D< FLIK 8E; FK?<I =<;<I8C :FLIKJ ?8M<

I<G<8K<;CP I<:F>E@Q<; K?8K N?<E <C<:K@FE GI8:K@:<J I<8:? K?< GF@EK F= G8K<EK 8E;

=LE;8D<EK8C LE=8@IE<JJ  K?< @EK<>I@KP F= K?< <C<:K@FE @KJ<C= M@FC8K<J *C8@EK@==WJ

JL9JK8EK@M<;L<GIF:<JJI@>?K <30038@ ?<8=  ; JK@I 

?8-+8@ "9C>2</==  ; K?@I 69<3.+$>+>/980/</8-/

90    " @ <9A8381  ;  K?@I #9/@ $>+>/

906+ C%2<9?12@+8=  ;  K?@I #9/@ $>+>/90

6+  ; K?@I +<5=@ $>38=98  ; I;

@I  

            .?< <=<E;8EKJW LE:FEJK@KLK@FE8C ILC< D8B@E> ;@J:LJJ<; 89FM<

I<GI<J<EKJ8E@EK<EK@FE8C=8@CLI<KF=FCCFN<C<:K@FEC8N8J<E8:K<;9PK?<!<FI>@8

C<>@JC8KLI<  .?<J< LE8LK?FI@Q<; 8:KJ M@FC8K< *C8@EK@==WJ GIF:<;LI8C ;L< GIF:<JJ

I@>?KJ "+<<+>>@ %+C69< / -    FM<IILC<;@EG8IKFEFK?<I

>IFLE;J9P+83/6=@ (3663+7= / -   ?.=98@ "+67/< 

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&()(1'$176!,2/$7('7+(8$5$17((/$86(

            .?< FEJK@KLK@FE GIFM@;<J K?8K UK?< /E@K<; -K8K<J J?8CC >L8I8EK<< KF

<M<IP-K8K<@EK?@J/E@FE8,<GL9C@:8E FIDF=!FM<IED<EK V$//IK@:C<#0 R 

/E@K<;-K8K<JFEJK@KLK@FE 

            .?@JFLIK8E;FK?<I=<;<I8C:FLIKJ8I<@EJK@KLK@FEJF=K?</E@K<;-K8K<J

K?8K8I<:FEJK@KLK@FE8CCP:FDG<CC<;KF<E=FI:<K?@J>L8I8EK<< #E;<<; K?<-LGI<D<

FLIK ?8J I<:F>E@Q<; K?8K EFK 8CC :C8@DJ LE;<I K?< !L8I8EK<< :C8LJ< GI<J<EK

EFEALJK@:@89C<GFC@K@:8CHL<JK@FEJ 8E;K?<:FLIKJJ?FLC;8;;I<JJK?<D<I@KJF=JL:?

:C8@DJ 8KC<8JK@EJFD<:@I:LDJK8E:<J -<< /A)9<5@ &83>/.$>+>/= - K 

   .?@J:8J<D<I@KJK?<FLIKWJ@EMF:8K@FEF=K?<!L8I8EK<<:C8LJ< 

            .?<<=<E;8EKJW@DGC<D<EK8K@FEF=K?<89FM<LE8LK?FI@Q<;,LC<JK?8K

;@I<:KCP:FE=C@:KN@K?K?<!<FI>@8<C<:K@FEJK8KLKFIPJ:?<D< @E8E;F=K?<DJ<CM<J 

FI:<IK8@ECP@E:FD9@E8K@FEN@K?K?<LJ<F=K?<LEI<C@89C<8E;:FDGI@J<;FD@E@FE

MFK@E> D8:?@E<J @J JF :FEKI8IP KF K?< IFFK G?@CFJFG?P F= 8 ,<GL9C@:8E =FID F=

>FM<IED<EKK?8KK?@JFLIKJ?FLC;<E=FI:<K?<>L8I8EK<<:C8LJ<8E;<EAF@EK?<@ILJ<

@EK?<ILEF== 9?8>+38$>+>/=/1+69?8.+>398@ /8@/<$-29963=><3-> 

    -LGG   FCF  

            #E;<<;  N?<E -K8K< 8:K@FE  C@B< K?< <=<E;8EKJ 8:K@FEJ @E K?@J :8J< 

:8LJ<J <C<:K@FE =I8L;  CFJJ 8E; FI ;@CLK@FE F= K?< =LE;8D<EK8C I@>?K KF MFK< 

                                        

*C8@EK@==WJ FDGC8@EK @J <C<M8K<; @EKF 8E IK@:C< #0  J<:K@FE  :C8@D  D8E;8K@E>

AL;@:@8CGIFK<:K@FEF=K?<I@>?KKFMFK< .?<-LGI<D<FLIK?8JI<:F>E@Q<;K?8KK?<

I@>?KKFMFK<@J@E?<I<EK@EK?<I<GL9C@:8E=FIDF=>FM<IED<EK<EM@J@FE<;9PK?<

!L8I8EK<<:C8LJ< +5/<@ +<< / -   

           .?< <=<E;8EKJW @EK<I=<I<E:< N@K? K?< I@>?K KF MFK< :8CCJ =FI EF C<JJ

K?8E 8:K@M< AL;@:@8C GIFK<:K@FE  1?<E  8J ?<I<  8J 8 I<JLCK F= =I8L; 8E;

LE:FEJK@KLK@FE8C 8:K@FEJ  JK8K< <C<:K@FE GIF:<;LI<J I<JLCK @E K?< <C<:K@FE F=

@CC<>@K@D8K<F==@:<?FC;<IJ EFKFECP8I<MFK<I@EK<I<JKJ;@CLK<; 9LKK?<I<GL9C@:8E

=FIDF=>FM<IED<EK@JLE;<ID@E<; 

           .?@JFLIK@J:FDG<CC<;LE;<IK?<:@I:LDJK8E:<JF=K?@J:8J<KF@EMFB<

K?<>L8I8EK<<:C8LJ<8E;8:K@M<CPGIFK<:KK?<*C8@EK@==WJ=LE;8D<EK8CI@>?KKFMFK< 

           *C8@EK@== ?8J EF 8;<HL8K< I<D<;P 8K C8N 8E; N@CC JL==<I J<I@FLJ 8E;

@II<G8I89C<?8IDLEC<JJK?<I<C@<=I<HL<JK<;?<I<@E@J>I8EK<; 

               /$,17,)):,// 68))(5,55(3$5$%/( +$50

           .?< @II<G8I89C< E8KLI< F= K?< ?8ID KF *C8@EK@== @J 8GG8I<EK  #K @J

N<CC J<KKC<;K?8K 8E @E=I@E><D<EK FE K?< =LE;8D<EK8CI@>?K KF MFK< 8DFLEKJ@E

8E @II<G8I89C< @EALIP    #9. @  ?<8=   / -     GCLI8C@KP

FG@E@FE+<>38@ /7:  -LGG ; (  !8 8M@FC8K@FE

F= K?< I@>?K KF MFK< :8EEFK 9< LE;FE< K?IFL>? DFE<K8IP I<C@<=  8E; K?LJ  K?<

                                       

M@FC8K@FEF=K?<I@>?KKFMFK<8DFLEKJKF@II<G8I89C<?8ID  /A + "<94/-> @ 

#+00/8=:/<1/<  1&   8K  (   !8  L>    N?<I<

GC8@EK@==?8J8CC<><;?<I=LE;8D<EK8CI@>?KKFMFK<?8J9<<E@E=I@E><; @II<G8I89C<

@EALIP @J ><E<I8CCP GI<JLD<;  #= K?< ILEF== <C<:K@FE @J EFK ?8CK<; 8E; K?<

LE:FEJK@KLK@FE8CGIF:<;LI<J8I<EFK<EAF@E<; K?<*C8@EK@==WJI@>?KKFMFK<N@CC9<

@E=I@E><; LGFE  9LI;<E<;  FI ;<E@<;  .?< I<JLCKJ F= K?< ILEF== <C<:K@FE  @= K?<

LE:FEJK@KLK@FE8CGIF:<;LI<J8I<8CCFN<;KFJK8E; N@CC9<@DGIFG<I .?<I<@JEF

8;<HL8K< I<D<;P 8K C8N @= K?@J KI8EJG@I<J  J JL:?  K?@J FLIK J?FLC; @JJL< K?<

I<HL<JK<;@EALE:K@FE 

                   +($/$1&( 2)$506 $1'8%/,&17(5(67

              .?< I<D8@E@E> KNF =8:KFIJ =FI K?< GI<C@D@E8IP @EALE:K@FE K<JK 

?8ID KF K?<FGGFJ@E> G8IKP 8E;N<@>?@E> K?<GL9C@: @EK<I<JK D<I>< N?<E K?<

!FM<IED<EK@JK?<FGGFJ@E>G8IKP  /A+ "<94/->1& 8K

;?9>381        5/8 @  96./<   / -      8CK<I8K@FEJ 8E;

GLE:KL8K@FE FD@KK<;  

              *C8@EK@==8E;K?<:@K@Q<EJ F=!<FI>@8 D8P CFJ<K?<FGGFIKLE@KP=FI

D<8E@E>=LC I<C@<= <EK@I<CP @= ILEF==<C<:K@FE@JEFK?8CK<; 8E;K?<:FEJK@KLK@FE8C

M@FC8K@FEJ:LI<;9<:8LJ<K?<I<D8P9<EFI<D<;@<JK?8KNFLC;I<D8@E 8=K<I K?8K

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?8ID<; @=K?<P 8I<LE:FEJK@KLK@FE8CC P;<GI@M<; F=K?<@I I@>?KKFMFK<  .?<?@>?

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